Case 1:21-cv-01670-JEB Document 35-11 Filed 02/10/23 Page 1 of 3




                            Exhibit J
          Case 1:21-cv-01670-JEB Document 35-11 Filed 02/10/23 Page 2 of 3




Naumes v Army: Deletions of Time Billing for Phases 1-5, and Phase 7 and Totals of All Fees
after Billing Judgment, Adjustments, and Costs


Chart 11:
 Deletions of Time
 Billing for Phases 1-5

 Date:                    Person:            Amount:

 5-6-2021                 CPS                $587.70

 7-30-21                  CPS                $130.60

 9-3-21                   CPS                $65.30

 9-21-21                  CPS                $130.60

 10-25-21                 CPS                $848.90

 11-9-21                  CPS                $130.60

 11-19-21                 CPS                $653.00

 1-10-22                  CPS                $205.20

 1-13-22                  CPS                $410.40

 Total                                       $3,162.30




Chart 12:
 Deletions of Time
 Billing for Phase 6

                          Amount:

 Total Time Billing       $52,515.00

 75 percent Reduction     $39,386.25

 Total                    $13,128.75
          Case 1:21-cv-01670-JEB Document 35-11 Filed 02/10/23 Page 3 of 3




Chart 13:
 Deletions of Time
 Billing for Phase 7

 Date:                   Person:         Amount:

 2-4-23                  CPS             $1,162.80

 Total                                   $1,162.80




Chart 14:
 Summary Totals

                           Prior to Adjustment:      After Adjustment:

 Phase 1-5                 $84,371.00                $81,208.70

 Phase 6                   $52,515.00                $13,128.75

 Phase 7                   $26,086.90                $24,924.10

 Costs                     $428.15                   $428.15

 Grand total               $163,401.05               $119,689.70
